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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                 )
                                         )
             v.                          )       1:14cr33
                                         )       Electronic Filing
KIRK NESSET                              )



                            CHANGE OF PLEA HEARING
                          Before Judge David Stewart Cercone



Appear for Government:     Christian Trabold, AUSA
Appear for Defendant:      Meagan Temple, Esquire
Hearing date:              April 6, 2015
Hearing begun:             10:45 a.m.
Hearing concluded:         11:45 a.m.
Stenographer:              Ronald Bench
Law Clerk/Deputy Clerk:    Mark Mohney/Nicole Kierzek

REMARKS:            Defendant sworn and found competent. Defendant acknowledged that he
                    understood the rights being waived, the elements of the offense(s), the
                    government's burden of proof, all applicable minimum and maximum
                    penalties, and the court's consideration of the United States Sentencing
                    Guidelines. Sidebar conference held; proceedings at sidebar placed under
                    seal. The court found a factual basis to accept the plea. The defendant
                    knowingly and voluntarily entered a change of plea of GUILTY to Counts
                    1, 2 and 3. Presentence investigation report ordered. Sentence set for
                    8/10/15 at 2:15 p.m. Defendant continued on bond pending his surrender
                    to the Marshal Service to commence service of sentence in approximately
                    30 days.
